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8                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
9

10   THOMAS E. STUART,                             CASE NO.
11
     JOSE L. FELIX,
     and A.F.
12                                                 COMPLAINT FOR DAMAGES
                    Plaintiffs,                    and DEMAND FOR JURY TRIAL
13
     vs.
14

15
     COUNTY OF RIVERSIDE,
     SAYORI BALDWIN, BRIDGETTE
16   HERNANDEZ, BRIANNA HALL
17   TARA CORONEL, and DOES 1
     THROUGH 10,
18
                    Defendants.
19

20

21
              COME NOW, Plaintiffs, who allege upon information and belief as

22         follows: This is a complaint for damages based on upon federal civil rights,
23
           state constitutional rights, and state statutory and common law violations
24

25         committed by the Defendant County of Riverside and its respective officials,
26
           employees, and/or agents, Defendants Sayori Baldwin, Bridgette Hernandez,
27

28
           Brianna Hall, Tara Coronel, and Does 1 through 10.
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 1
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 2 of 45 Page ID #:2



1                                      JURISDICTION
2
           1.    Plaintiffs bring this case pursuant to 42 U.S.C. §§ 1983, 1988 and
3

4                California’s Constitution and state law. Jurisdiction is based upon 28
5
                 U.S.C. §§ 1331, 1343 (1-4). Supplemental jurisdiction exists over the
6

7
                 state claims and Defendants pursuant to 28 U.S.C. §1367.

8          2.    Plaintiffs have fully satisfied the Tort Claims Act as to California state
9
                 law claims made herein.
10

11                                              VENUE
12
           3.    The claims alleged herein arose from events or omissions that
13

14
                 occurred in the County of Riverside. Therefore, venue lies in the

15               Central District of California pursuant to 28 U.S.C. § 1391(b)(2).
16
                                               PARTIES
17

18                                             Plaintiffs
19
           4.    Plaintiff Thomas E. Stuart (“Mr. Stuart”) is a resident of the State of
20

21
                 California. At all times material to this Complaint, Mr. Stuart was a

22               private citizen of the State of California, United States of America.
23
           5.    Plaintiff Jose L. Felix (“Mr. Felix”) is a resident of the State of
24

25               California. At all times material to this Complaint, Mr. Felix was a
26
                 private citizen of the State of California, United States of America.
27

28
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 2
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 3 of 45 Page ID #:3



1          6.    Plaintiff A.F. (a fictitious name is used herein to protect his privacy) is
2
                 a resident of the State of California. At all times material to this
3

4                Complaint, A.F. was a private citizen of the State of California,
5
                 United States of America.
6

7
           7.    Plaintiffs are referred to collectively at times herein as “Plaintiffs.”

8                                             Defendants
9
           8.    Plaintiffs are informed, believe, and thereupon allege that Defendant
10

11               COUNTY OF RIVERSIDE (“Defendant County”) is a duly
12
                 constituted governmental entity in the State of California, and is, or
13

14
                 was, the employer of all individually named Defendants including, but

15               not limited to, those who are sued in their individual and official
16
                 capacities, as well as one, or all, of Defendant DOES 1 through 10.
17

18         9.    Plaintiffs are informed, believe, and thereupon allege that Defendant
19
                 SAYORI BALDWIN (“Defendant Baldwin”) was at all times material
20

21
                 herein a policy maker and/or supervisor and acting under color of law

22               within the course and scope of her employment and office as the
23
                 Director of the Riverside County Department of Public Social
24

25               Services (“DPSS”). She is being sued individually and in her official
26
                 capacity.
27

28
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 3
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 4 of 45 Page ID #:4



1          10.   Plaintiffs are informed, believe, and thereupon allege that Defendant
2
                 BRIDGETTE HERNANDEZ (“Defendant Hernandez”) was at all
3

4                times material herein a policy maker and/or supervisor and acting
5
                 under color of law within the course and scope of her employment and
6

7
                 office as the Deputy Director of the Riverside DPSS. She is being

8                sued individually and in her official capacity.
9
           11.   Plaintiffs are informed, believe, and thereupon allege that Defendant
10

11               BRIANNA HALL (“Defendant Hall”) was at all times material herein
12
                 a policy maker and/or supervisor and acting under color of law within
13

14
                 the course and scope of her employment and office as a Supervisor for

15               the Riverside DPSS. She is being sued individually and in her official
16
                 capacity.
17

18         12.   Plaintiffs are informed, believe, and thereupon allege that Defendant
19
                 TARA CORONEL (“Defendant Coronel”) was at all times material
20

21
                 herein acting under color of law within the course and scope of her

22               employment and office as a Social Services Practitioner III of DPSS.
23
                 She is being used individually and in her official capacity.
24

25         13.   The identities, capacities, and/or nature of involvement of Defendant
26
                 DOES 1 through 10 (“Doe Defendants”) are presently unknown to
27

28
                 Plaintiffs. Plaintiffs therefore sue such persons using “Does” as
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 4
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 5 of 45 Page ID #:5



1                fictitiously-named defendants. Plaintiffs are informed, believe, and
2
                 thereupon allege that there is likely to be evidentiary support to prove
3

4                that each Doe Defendant was involved in some manner and legally
5
                 responsible for the acts, omissions, and/or breaches of duty alleged
6

7
                 below. Plaintiffs will amend the Complaint to name the Doe

8                Defendants upon learning their true identities and roles in the actions
9
                 complained of herein.
10

11         14.   All of the facts, acts, omissions, events, and circumstances herein
12
                 mentioned and described in the County of Riverside, State of
13

14
                 California, and the corporate and/or entity Defendant, and each of

15               them, are residents of the County of Riverside, State of California,
16
                 and/or have their principal place of business in said County and State,
17

18               and/or doing business in said County and State.
19
           15.   Plaintiffs are informed, believe, and thereupon allege that all
20

21
                 Defendants employed by Defendant County were, at all times

22               relevant and material to this Complaint, acting within the course
23
                 and scope of their employment duties for Defendant County, and
24

25               under color of law. Plaintiffs are informed, believe, and thereupon
26
                 allege that each of the individual Defendant’s acts were known to,
27

28
                 discovered by, approved by, and/or ratified by Defendant
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 5
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 6 of 45 Page ID #:6



1                County, by and through their policy makers, decision makers,
2
                 officials, officers, and/or supervisors, including named Defendants,
3

4                and applicable Doe Defendants.
5
           16.   Plaintiffs are informed, believe, and thereupon allege that all
6

7
                 Defendants employed by Doe Defendants, at all times relevant

8                and material to this Complaint, were acting within the course
9
                 and scope of their employment duties for Doe Defendants, under
10

11               color of law. Plaintiffs are informed, believe, and thereupon allege
12
                 that each of the individual Defendant’s acts were known to,
13

14
                 discovered by, approved by, and/or ratified by Doe Defendants,

15               by and through policy makers, decision makers, and/or supervisors,
16
                 including applicable Doe Defendants.
17

18         17.   Plaintiffs are informed, believe, and thereupon allege that officials,
19
                 supervisors, policy makers, and other individuals with the
20

21
                 authority to set or modify municipal and/or departmental

22               policy, de jure or de facto, of Defendant County and/or Doe
23
                 Defendants, participated in, approved of, ratified, and/or failed to
24

25               prevent the acts by all Defendants and Doe Defendants of
26
                 which Plaintiffs complain herein.
27

28
           18.   Plaintiffs are informed, believe, and thereupon allege that at all
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 6
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 7 of 45 Page ID #:7



1                times herein mentioned, each of the Defendants-including
2
                 officials, supervisors, and other policy makers from Defendant
3

4                County and/or Doe Defendants and their agents-was the agent,
5
                 employee, or co-conspirator of one other, some, or all of their Co-
6

7
                 Defendants. Plaintiffs are informed, believe, and thereupon allege that

8                each of the Defendants, acting individually and/or in concert with
9
                 each other, engaged in a common plan to wrongfully deprive
10

11               Plaintiffs of their respective rights, interests, and liberties, as such
12
                 rights are afforded under the United States Constitution and the
13

14
                 California State Constitution and conspired generally to damage

15               Plaintiffs and inflict great injury upon them.
16
           19.   Defendants are referred to collectively at times herein as
17

18               “DEFENDANTS.”
19
                     FACTS COMMON TO ALL CLAIMS FOR RELIEF
20

21
           20.   A.F. was born in 2002.

22         21.   A.F. had been in the custody of his biological mother from birth until
23
                 approximately the age of five, when he was first placed into
24

25               Defendant County’s Child Protective Services due to neglect as a
26
                 result of his biological mother’s methamphetamine addiction, drug
27

28
                 abuse and repeated incarceration.
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 7
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 8 of 45 Page ID #:8



1          22.   A.F. was removed from his biological mother’s home by the
2
                 Defendant County, Department of Public Social Services (“DPSS”).
3

4          23.   From the age of five (5), until he was adopted by his parents at the
5
                 age of ten (10), A.F. was placed in multiple temporary foster
6

7
                 homes.

8          24.   A.F.’s biological mother’s rights were terminated in 2012, when A.F.
9
                 was nearly ten (10) years of age.
10

11         25.   Although A.F.’s biological father was identified on A.F.’s birth
12
                 certificate, he had no contact with and took no responsibility for A.F.
13

14
                 throughout his life.

15         26.   Due to neglect, absence of a parent or caretaker, placement in
16
                 multiple temporary foster homes, enrollment in multiple schools,
17

18               abandonment from his biological mother and father, and the absence
19
                 of consistent and meaningful nurturing and care for nearly ten (10)
20

21
                 years, it is not surprising that A.F. struggled throughout his

22               adolescence, including suffering from significant learning disabilities,
23
                 stunted or delayed educational development, severe emotional
24

25               instability and behavioral issues, and other severe negative
26
                 psychological and behavioral effects.
27

28
           27.   Mr. Stuart and Mr. Felix began the adoption process for adopting
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 8
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 9 of 45 Page ID #:9



1                A.F. in 2012.
2
           28.   During the adoption process, the family court judge ordered A.F.’s
3

4                putative biological father to submit to a DNA test. The test was
5
                 completed and A.F.’s biological father was confirmed through DNA
6

7
                 testing.

8          29.   As a result of the confirmed DNA testing, A.F.’s biological father
9
                 was given the option to proceed with parental unification with A.F.
10

11               However, he declined and completely and irrevocably surrendered his
12
                 parental rights to A.F.
13

14
           30.   A.F. was adopted by Mr. Stuart and Mr. Felix in 2012. A.F. was

15               ten (10) years old.
16
           31.   Mr. Stuart and Mr. Felix also adopted A.F.’s younger brother, who
17

18               shared the same mother as A.F., but different fathers.
19
           32.   After A.F.’s adoption by Mr. Stuart and Mr. Felix, A.F. made
20

21
                 significant progress with his educational, emotional, and behavioral

22               development. However, he continued and continues to suffer from the
23
                 multiple negative impacts of his adolescent childhood prior to
24

25               adoption.
26
           33.   Not surprisingly, A.F. has many unresolved psychological impacts
27

28
                 and emotional difficulties related to the his childhood before he was
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 9
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 10 of 45 Page ID #:10



1                 adopted, including feelings of severe abandonment and neglect,
2
                  rejection, shame, and humiliation.
3

4           34.   A.F.’s childhood trauma and abandonment has manifested itself
5
                  throughout the course of his adolescent and adult development,
6

7
                  including, but not limited to, bursts of anger, resentment, depression,

8                 anxiety, attachment disorders, and despair.
9
            35.   Notwithstanding A.F.’s childhood trauma and abandonment, and
10

11                because of the love and care he received from his parents, Plaintiffs
12
                  Stuart and Felix, A.F. has overcome a significant number of hurdles
13

14
                  and barriers. He made progress in managing, coping, and even

15                overcoming some of his disadvantages, disabilities, and challenges.
16
                  For example, A.F. graduated from high school, was an all-star club
17

18                level water polo player, and obtained admission and an athletic
19
                  scholarship to attend a Division I university.
20

21
            36.   However, that progress and trajectory was severely vitiated,

22                destroyed, impeded, derailed, and disrupted in June 2021, and
23
                  continues to negatively affect A.F. as well as the progress
24

25                Plaintiffs Stuart and Felix made individually with A.F. and as a
26
                  family unit.
27

28
            37.   On or about June 11, 2021, Defendant Coronel, who is or was at the
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 10
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 11 of 45 Page ID #:11



1                 time employed as a social worker or “Social Services Practitioner
2
                  III,” with the Riverside County DPSS, used her credentials and
3

4                 position to unlawfully access the Defendant County’s computer
5
                  systems and electronic records.
6

7
            38.   Defendant Coronel was able to and did unlawfully access

8                 confidential closed adoption records related to A.F.’s adoption by
9
                  Plaintiffs Stuart and Felix.
10

11          39.   Defendant Coronel used the information that she unlawfully obtained
12
                  through the DPSS electronic records and data to attempt to contact
13

14
                  A.F.

15          40.   On or about June 13, 2021, Defendant Coronel contacted the
16
                  Facebook account of the water polo club to which A.F. belonged.
17

18                Defendant Coronel sent a Facebook message to the water polo club
19
                  and stated: “This might be a long shot but do you have contact
20

21
                  information for [A.F.]?”

22          41.   The water polo club responded, “Hi-We can’t give out athlete’s info,
23
                  but you can send over your email address / phone and we can forward
24

25                to his parents.” Defendant Coronel responded: “Hello, I believe [A.F]
26
                  was adopted years ago. If this is him, his birth name was [redacted].
27

28
                  [redacted] If you can please pass my information along. Tara Coronel.
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 11
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 12 of 45 Page ID #:12



1                 [redacted].
2
            42.   The water polo club forwarded the message to A.F.’s parents, Mr.
3

4                 Stuart and Mr. Felix on the same day.
5
            43.   As a result of this outreach and communication, Mr. Stuart and Mr.
6

7
                  Felix were severely distressed and confused about the contact, the

8                 method of contact, and, most importantly, the potential negative
9
                  impact it would have on A.F.’s progress and mental health.
10

11          44.   Mr. Stuart and Mr. Felix spoke to A.F. about the contact from
12
                  Defendant Coronel.
13

14
            45.   Defendant Coronel’s purported and later determined fabricated

15                outreach on behalf of A.F.’s biological father, was the first contact
16
                  A.F. had ever received from his biological father in his 18 years of
17

18                life.
19
            46.   At the time of Defendant Coronel’s contact, A.F. was 18 years of age.
20

21
                  A.F. was conflicted about the outreach but agreed to the contact with

22                Defendant Coronel, primarily because A.F. wanted answers to, if not a
23
                  confrontation about, so many questions he had about his childhood
24

25                and abandonment by his father.
26
            47.   The Plaintiffs agreed that they would reach out to Defendant Coronel
27

28
                  together.
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 12
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 13 of 45 Page ID #:13



1           48.   The Plaintiffs called Defendant Coronel on June 18, 2021.
2
            49.   Defendant Coronel answered the telephone and indicated that she is
3

4                 A.F.’s biological father’s sister-in-law.
5
            50.   Defendant Coronel erroneously and fraudulently told Plaintiffs that
6

7
                  A.F.’s father had been looking for A.F., but he was not available at

8                 that time as he was at work.
9
            51.   Defendant Coronel told A.F. that if he ever felt “unwanted,” that it
10

11                was not true. A.F. asked again to speak directly with his biological
12
                  father.
13

14
            52.   Defendant Coronel requested that A.F. call back the next morning at

15                10:00 am to speak to his biological father.
16
            53.   Before ending the call, Defendant Coronel asked if there were any
17

18                specific questions she could convey to his biological father but A.F.
19
                  declined as he wanted to speak directly to his biological father.
20

21
            54.   After the call, all three Plaintiffs continued to suffer significant

22                anxiety and negative physical and emotional effects from the call and
23
                  outreach by Defendant Coronel, purportedly on behalf of A.F.’s
24

25                biological father, as well as the anticipation of the call the following
26
                  morning.
27

28
            55.   On June 19, 2021, around 10:00 am, Plaintiffs called Defendant
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 13
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 14 of 45 Page ID #:14



1                 Coronel’s number. Defendant Coronel’s sister and A.F’s biological
2
                  father’s wife, Terry Coronel, answered the phone and explained that
3

4                 she is A.F.’s biological father’s current wife. Terry Coronel also
5
                  proceeded to disclose that A.F.’s biological father was not at home,
6

7
                  that he did not know about the call with A.F., that he did not know

8                 about Defendant Tara Coronel’s outreach, and that A.F.’s biological
9
                  father was never involved and never requested Defendant Coronel’s
10

11                outreach effort to A.F.
12
            56.   This shocking revelation caused all three Plaintiffs to become
13

14
                  extremely upset and distressed over Defendant Coronel’s purposes,

15                intentions, and motivations to interfere with A.F.’s life and familial
16
                  relationships.
17

18          57.   Mr. Stuart and Mr. Felix demanded to know how Defendant Coronel
19
                  found them, given that it was a closed adoption. Initially, Defendant
20

21
                  Coronel lied and said that A.F.’s father had hired a private

22                investigator and had been looking for him for years.
23
            58.   Plaintiffs challenged Defendant Coronel’s fraudulent claims and told
24

25                her that they knew it was not true, given the confidential nature of the
26
                  information in the closed adoption.
27

28
            59.   Defendant Coronel then indicated that she found Mr. Felix’s name on
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 14
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 15 of 45 Page ID #:15



1                 “adoption paperwork” and then looked him up on Facebook. She
2
                  indicated that she saw a picture of A.F. with his water polo club team,
3

4                 so she reached out to the water polo club on Facebook.
5
            60.   Plaintiffs were very upset and insisted that Defendant Coronel was
6

7
                  lying because of the closed adoption process, which included a name

8                 change, and the inability to identify them or A.F., unless she accessed
9
                  confidential information.
10

11          61.   Defendant Coronel became very defensive, ugly, and angry that
12
                  Plaintiffs Stuart and Felix, who are A.F.’s parents, were even getting
13

14
                  involved in their son’s life and business because he was 18 years of

15                age.
16
            62.   The call continued to escalate, particularly because of Defendant
17

18                Coronel’s lies to Plaintiffs, lies about A.F.’s biological father’s lack of
19
                  knowledge regarding the outreach, and lies about Defendant
20

21
                  Coronel’s access to confidential information.

22          63.   Defendant Coronel screamed at Plaintiffs: “He’s 18! Why are you
23
                  getting so involved?” and hung up the phone on Plaintiffs.
24

25          64.   On June 21, 2021, Mr. Felix conducted an internet search and learned
26
                  that Defendant Coronel was employed by the Defendant County, `
27

28
                  DPSS, as a social worker.
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 15
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 16 of 45 Page ID #:16



1           65.   On June 21, 2021, Mr. Stuart contacted DPSS and spoke to
2
                  Defendant Breanna Hall.
3

4           66.   Over the course of several days, Plaintiffs were contacted by a DPSS
5
                  investigator, who indicated they would conduct an investigation, but
6

7
                  that the Plaintiffs may not be informed about the results of the

8                 investigation.
9
            67.   On or about September 14, 2021, Plaintiffs received a form letter
10

11                indicating a “notice of data breach” and that Defendant Coronel was
12
                  no longer employed by DPSS. No further information was
13

14
                  provided to Plaintiffs.

15          68.   Upon information and belief, an investigation was conducted and it
16
                  was confirmed that Defendant Coronel unlawfully and without
17

18                authorization used her DPSS access and authority to obtain
19
                  confidential information about Plaintiffs A.F., Mr. Stuart, and Mr.
20

21
                  Felix.

22          69.   Defendant County’s investigation indicated that the Defendant
23
                  County and/or Defendants Hernandez and Hall were unclear on the
24

25                methods of unauthorized access by Defendant Coronel, the statutes
26
                  and laws at issue, the procedures for such a breach and notification
27

28
                  requirements, and their referral obligations for unauthorized access.
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 16
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 17 of 45 Page ID #:17



1                 For example, Defendants were unaware that Defendant Coronel
2
                  obtained unauthorized access of A.F.’s information, until it conducted
3

4                 a state audit of computer and electronic access.
5
            70.   Upon information and belief, Defendants did not provide any
6

7
                  prophylactic measures, including training, to ensure confidentiality

8                 and unauthorized access to such data and information by its
9
                  unauthorized employees.
10

11          71.   Defendant Coronel was allowed to resign from her position as a
12
                  social worker for DPSS. Upon information and belief, Defendant
13

14
                  Coronel received all benefits and privileges associated with her

15                resignation from DPSS and no further punishment, criminal referrals,
16
                  penalties, or negative actions were taken against Defendant Coronel,
17

18                as a result of her unlawful actions.
19
            72.   No criminal referral, charges, or actions were made or brought against
20

21
                  Defendant Coronel.

22          73.   Defendant Coronel continues to practice and/or is a licensed
23
                  professional clinical counselor in the state of California.
24

25          74.   To date, Plaintiffs continue to suffer damages, including mental pain
26
                  and suffering, as a result of Defendants’ acts and omissions.
27

28
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 17
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 18 of 45 Page ID #:18



1                     Facts Related to PRA claims
2
                75.      On October 18, 2021, undersigned counsel sent via U.S. Postal
3

4                        Service to DPSS, Defendant Sayori Brown, Administrative Office,
5
                         4060 County Circle Drive, Riverside, CA 92503, a Public Records
6

7
                         Act Request (“PRA”) under Gov’t Code §§ 6250 et seq., California

8                        Penal Code §§832.7-832.8, and Art. I, § 3(b) of the California
9
                         Constitution for information related to Defendant Coronel’s
10

11                       unauthorized access to Plaintiffs’ data and information.
12
                76.      On that same day, undersigned counsel sent Defendant County, Clerk
13

14
                         of the Board of Supervisors, a Claim for Damages pursuant to Cal.

15                       Gov. Code, §910 et seq.1
16
                77.      With respect to the PRA, Plaintiffs did not receive a response within
17

18                       the requisite statutory timeframe. Accordingly, undersigned counsel
19
                         reached out to DPSS for a status update on or about November 9,
20

21
                         2021, and was told by a representative in the records office that no

22                       such request was received.
23

24

25

26
                         1
                           On or about November 15, 2021, Plaintiffs, through undersigned counsel, received a “rejection
27     of claim” of Plaintiffs’ claim for damages and notifying Plaintiffs that they had six months to file relevant state
       claims.
28
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 18
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 19 of 45 Page ID #:19



1           78.   On November 9, 2021, undersigned counsel re-sent the PRA to DPSS
2
                  records office via facsimile. In short, the PRA requested
3

4                       a copy of all records relating to the report, investigation,
                        findings and administrative discipline related to Tara Coronel’
5
                        employment, termination, criminal referral, if any, and
6                       investigation file related to the ‘data breach’ related to the
7
                        closed adoption of John Doe 1 and John Doe 2 by Jose Felix
                        and Thomas Stuart. Records include all investigative reports;
8                       photographic, audio, and video evidence; transcripts or
9                       recordings of interviews; personnel files; all materials compiled
                        by the law enforcement agency and provided to the Office of
10
                        the District Attorney, if any, and/or any records created by the
11                      Office of the District Attorney during the course of its
                        investigation, or relied upon in its determination whether to file
12
                        criminal charges, if applicable.
13

14
            79.   On or about November 14, 2021, DPSS indicated that it would need a

15                14-day extension, in addition to the statutory ten (10) days, to respond
16
                  to Plaintiffs’ PRA request.
17

18          80.   On or about December 3, 2021, undersigned counsel received a letter
19
                  from DPSS, with objections and claims of confidentiality and
20

21
                  indicated that documents would begin on a rolling basis on February

22                15, 2022.
23
            81.   Defendant has sought no less than four (4) extensions of time to
24

25                complete its production of documents in response to Plaintiffs’ PRA,
26
                  indicating, in part, the voluminous nature of the production. However,
27

28
                  the Defendant County’s production to date has only included
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 19
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1                 approximately 37 pages of documents directly related to Defendant
2
                  Coronel, approximately 26 pages of publicly available general
3

4                 department policies, and a three-page blank/template confidentiality
5
                  and information user agreement.
6

7
            82.   Each delayed and extended production has been limited to duplicative

8                 productions. For example, on February 15, 2022, Defendant County
9
                  indicated that it was “continuing to retrieve and review some of the
10

11                items you requested which may be sent at a later date.” (emphasis
12
                  added). No date was given as to when Plaintiffs could anticipate
13

14
                  additional responsive documents. Accordingly, on March 15, 2022,

15                having received no further documents or communication,
16
                  undersigned counsel was required to proactively request a date certain
17

18                from Defendant County to comply with its PRA obligations.
19
            83.   On March 17, 2022, Defendant County responded that it was
20

21
                  “continuing to review and do [sic] anticipate providing additional

22                responsive information. It is anticipated that additional information
23
                  will be provided on or before April 15, 2022.”
24

25          84.   Given the statute of limitations applicable for state violations, and
26
                  Defendant County’s continued delays and/or dilatory conduct,
27

28
                  undersigned counsel requested completion of all document requests
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 20
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 21 of 45 Page ID #:21



1                 as soon as possible or agreement to entry of a tolling agreement. No
2
                  response was provided by Defendant County.
3

4           85.   On April 15, 2022, Defendant County produced duplicative email
5
                  documents, with the addition of three additional emails from July 1,
6

7
                  2021, which should have been available and produced in the first

8                 production in February 2022. Moreover, Defendant County once
9
                  again indicated that “if additional disclosable items are identified,”
10

11                that it “anticipate[s] their disclosure on or about May 16, 2022”—a
12
                  day after the statute of limitation runs for filing state actions against
13

14
                  Defendant County.

15          86.   To date, neither Plaintiffs nor undersigned counsel have received a
16
                  response to Plaintiffs’ request for a tolling agreement.
17

18          87.   Upon information and belief and based on the sequence of
19
                  productions, delays, and document produced to date, Defendant
20

21
                  County’s dilatory tactics were intended to avoid liability and to run

22                the statute of limitations such that Plaintiffs’ claims would be barred.
23
                                               DAMAGES
24

25          88.   Each of the acts throughout this Complaint by each Defendant
26
                  directly and proximately caused each of the Plaintiffs to suffer the
27

28
                  following: violation of civil rights, loss of privacy, loss of enjoyment
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 21
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 22 of 45 Page ID #:22



1                 of privacy, invasion of privacy, interference with familial relationship,
2
                  loss and interference with liberty interests, interference with freedom
3

4                 of association, humiliation, emotional injury, pain and suffering, great
5
                  and extreme mental anguish.
6

7
            89.   Plaintiffs endured, and continue to endure, substantial pain and

8                 suffering due to each and every act and omission of all Defendants,
9
                  and each of them.
10

11                                     CLAIMS FOR RELIEF
12
                                  FIRST CLAIM FOR RELIEF
13                     VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
14
                                     Fourteenth Amendment
                       (Substantive Due Process and Familial Relationship)
15                           By All Plaintiffs Against All Defendants
16
            90.   Plaintiffs incorporate all paragraphs, as though fully set forth herein.
17

18          91.   At all times, each of the Defendants was acting under color of state
19
                  law in the performance of his or her official duties.
20

21
            92.   Each of these Defendants’ acts and omissions deprived each Plaintiff

22                of his particular rights under the Constitution and laws of the United
23
                  States.
24

25          93.   Each Plaintiff has and had Fourteenth Amendment substantive due
26
                  process rights to familial association, which includes the right of
27

28
                  parents and children to not have interference by the state regarding
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 22
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 23 of 45 Page ID #:23



1                 the parent-child relationship.
2
            94.   Plaintiffs allege that Defendants’ actions interfered with Plaintiff Mr.
3

4                 Stuart’s fundamental familial right to parent A.F., without
5
                  government interference.
6

7
            95.   Plaintiffs allege that Defendants’ actions interfered with Plaintiff Mr.

8                 Felix’s fundamental familial right to parent A.F., without government
9
                  interference.
10

11          96.   Plaintiffs allege that Defendants’ actions interfered with Plaintiff
12
                  A.F.’s fundamental rights to his familial relationship with his parents,
13

14
                  Mr. Stuart and Mr. Felix, without government interference.

15          97.   Defendants’ actions or omissions caused interference with the
16
                  constitutionally protected familial relationship and was for purposes
17

18                of oppression and interference of the familial relationship.
19
            98.   Defendants had no legitimate interest in interfering with the Plaintiffs’
20

21
                  parent-child relationship.

22          99.   Defendants’ actions or omissions violated Plaintiffs’ liberty interests
23
                  in their mutual companionship and nurturing interests.
24

25          100. Defendants’ actions were intentional and with deliberate deprivation
26
                  and/or indifference to the liberty interests of Plaintiffs.
27

28
            101. The complained of acts of Defendants were shocking to the
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 23
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 24 of 45 Page ID #:24



1                  conscience, beyond the bounds of acts tolerable in a civilized society,
2
                   and so egregious and outrageous that they may fairly be said to shock
3

4                  the contemporary conscience.
5
                               SECOND CLAIM FOR RELIEF
6                       VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
7
                            First Amendment (Familial Association)
                            By All Plaintiffs Against All Defendants
8

9           102.   Plaintiffs incorporate all paragraphs, as though fully set forth herein.
10
            103. At all times, each of the Defendants was acting under color of state
11
                   law in the performance of his or her official duties.
12

13          104. Each of these Defendants’ acts and omissions deprived each Plaintiff
14
                   of his particular rights under the Constitution and laws of the United
15

16                 States.
17
            105. Each Plaintiff has and had First Amendment familial association
18
                   rights, which includes the right of parents and children to not have
19

20                 interference by the state regarding the parent-child relationship and
21
                   association.
22

23          106. Plaintiffs allege that Defendants’ actions interfered with Plaintiff Mr.
24
                   Stuart’s familial association right to parent A.F., without government
25
                   interference.
26

27

28
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 24
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 25 of 45 Page ID #:25



1           107. Plaintiffs allege that Defendants’ actions interfered with Plaintiff Mr.
2
                  Felix’s familial association right to parent A.F., without government
3

4                 interference.
5
            108. Plaintiffs allege that Defendants’ actions interfered with Plaintiff
6

7
                  A.F.’s familial association right to his familial relationship with his

8                 parents, Mr. Stuart and Mr. Felix, without government interference.
9
            109. Defendants’ actions or omissions caused interference with the
10

11                constitutionally protected familial relationship and was for purposes
12
                  of oppression and interference of the familial relationship.
13

14
            110. Defendants had no legitimate interest in interfering with the Plaintiffs’

15                parent-child relationship.
16
            111. Defendants’ actions or omissions violated Plaintiffs’ familial
17

18                association rights in their mutual companionship and nurturing
19
                  interests.
20

21
            112. Defendants’ actions were intentional and with deliberate deprivation

22                and/or indifference to the familial association interests of Plaintiffs.
23
            113. The complained of acts of Defendants were shocking to the
24

25                conscience, beyond the bounds of acts tolerable in a civilized society,
26
                  and so egregious and outrageous that they may fairly be said to shock
27

28
                  the contemporary conscience.
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 25
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 26 of 45 Page ID #:26



1                                    THIRD CLAIM FOR RELIEF
2                         VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
                         Unconstitutional Policy, Custom, or Procedure (Monell)
3
                              By All Plaintiffs Against Defendant County
4
            114. Plaintiffs incorporate all paragraphs, as though fully set forth herein.
5

6           115. This cause of action arises under 42 U.S.C. § 1983, wherein Plaintiff
7
                      seeks to redress a deprivation under color of law of a right, privilege,
8

9                     or immunity secured to them by the First and Fourteenth
10
                      Amendments to the United States Constitution.
11
            116. Defendant County violated Plaintiffs’ constitutional rights, as alleged
12

13                    supra, by creating and maintaining the following unconstitutional
14
                      customs and practices, inter alia:
15

16             (i)       Plaintiffs allege that Defendant County has a de facto policy,
17
                         custom, and/or practice of not protecting individual privacy rights,
18
                         particularly individuals who have participated in a closed and
19

20                       private adoption;
21
               (ii)      Plaintiffs allege that Defendant County has a de facto policy,
22

23                       custom, and/or practice of intentionally and/or willfully
24
                         disregarding the sanctity and rights of a familial relationship;
25
               (iii)     Plaintiffs allege that Defendant County has a de facto policy,
26

27                       custom, and/or practice of intentionally and/or willfully
28
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 26
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 27 of 45 Page ID #:27



1                      disregarding the sanctity and rights of a familial association;
2
               (iv)    Plaintiffs allege that Defendant County has a de facto policy,
3

4                      custom, or practice of inadequately monitoring and/or
5
                       investigating their employees’ misconduct, including unauthorized
6

7
                       access to confidential information, electronic records, and

8                      databases;
9
               (v)     Plaintiffs allege that Defendant County has a de facto policy,
10

11                     custom, or practice of not ensuring and for allowing unauthorized
12
                       access to confidential information maintained on its databases and
13

14
                       computer systems;

15             (vi)    Plaintiffs allege that Defendant County has a de facto policy,
16
                       custom or practice of failing to discipline, failing to investigate,
17

18                     and or retaining, personnel who falsely and unlawfully obtain
19
                       unauthorized access to confidential and/or private information in
20

21
                       violation of constitutional rights; and

22             (vii) Plaintiffs allege that Defendant County has a de facto policy,
23
                       custom or practice of condoning, ratifying, failing to discipline,
24

25                     failing to investigate, failing to monitor, and of retaining,
26
                       personnel who falsely and unlawfully obtain unauthorized access
27

28
                       to confidential and/or private information in violation of
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 27
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 28 of 45 Page ID #:28



1                    constitutional rights; into contact in violation of constitutional
2
                     rights.
3

4           117. Defendant County’s policies or customs caused and were the moving
5
                  force and/or affirmative link behind some or all of the violations of
6

7
                  Plaintiffs’ constitutional rights at issue in this case.

8           118. Plaintiffs are informed, believe, and thereupon allege that these
9
                  policies, practices, customs, and procedures are intentional and/or the
10

11                result of deliberate indifference on the part of Defendant County, by
12
                  and through its decision makers.
13

14
            119. The foregoing unconstitutional customs and practices were a direct

15                and legal cause of harm to Plaintiffs.
16
            120. Plaintiffs specifically allege that Defendant County’s policy, custom,
17

18                and/or practices, as described herein, were within the control of
19
                  Defendant County and within the feasibility of Defendant County, to
20

21
                  alter, adjust, and/or correct so as to prevent some or all of the

22                unlawful acts and injury complained of herein by Plaintiffs.
23

24

25

26

27

28
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 28
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1                                 FOURTH CLAIM FOR RELIEF
2                        VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
                          Failure to Train, Supervise, Discipline, or Correct
3
                                       (City of Canton & Larez)
4                           By All Plaintiffs Against Defendants County,
                                    Baldwin, Hernandez, and Hall
5

6           121. Plaintiffs incorporate all paragraphs, as though fully set forth herein.
7
            122. This cause of action arises under 42 U.S.C. § 1983, wherein Plaintiff
8

9                 seeks to redress a deprivation under color of law of a right, privilege,
10
                  or immunity secured to him by the First and Fourteenth Amendments
11
                  to the United States Constitution.
12

13          123. Defendants County, Baldwin, Hernandez, and Hall violated
14
                  Plaintiffs’ constitutional rights, as alleged supra, by creating and
15

16                maintaining the following unconstitutional customs and practices,
17
                  inter alia:
18
                  (i)     Plaintiffs are informed, believe, and thereupon allege that
19

20                        Defendants County, Baldwin, Hernandez, and Hall individually
21
                          and collectively have and had ample reason to know that
22

23                        employees may use their County passwords and computer
24
                          access to engage in the misconduct and unauthorized access set
25
                          forth in this entire complaint;
26

27                (ii)    Plaintiffs are informed, believe, and thereupon allege that
28
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 29
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 30 of 45 Page ID #:30



1                         Defendants County, Baldwin, Hernandez, and Hall individually
2
                          and collectively have failed to properly train, supervise, and/or
3

4                         discipline employees, officers, managers, and supervisors
5
                          within DPSS as to the legal requirements, obligations, and
6

7
                          protections applicable to persons set forth in the United States

8                         and California Constitutions and other laws; and
9
                  (iii)   Plaintiffs allege that these failures amount to a de facto policy
10

11                        and are intentional and/or the result of deliberate indifference
12
                          on the part of Defendants County, Baldwin, Hernandez, and
13

14
                          Hall, individually and collectively, by and through its decision

15                        makers. These include, but are not limited to Defendants
16
                          Baldwin, Hernandez, and Hall and their subordinates, as
17

18                        necessary to further these improper policies, practices, customs,
19
                          and procedures.
20

21
            124. The foregoing unconstitutional customs and practices were a direct

22                and legal cause of harm to Plaintiffs.
23
            125. Defendants Baldwin, Hernandez, and Hall individually and
24

25                collectively acted in a supervisory capacity with respect to the
26
                  incidents involving Plaintiffs. In that capacity, Defendants Baldwin,
27

28
                  Hernandez, and Hall acted intentionally, maliciously, and in
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 30
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 31 of 45 Page ID #:31



1                 conscious disregard, and/or with deliberate indifference to the rights
2
                  of Plaintiffs.
3

4           126. These supervisory failures of Defendants Baldwin, Hernandez, and
5
                  Hall directly caused and contributed to Plaintiffs’ damages.
6

7
            127. Plaintiffs specifically allege that Defendants County, Baldwin,

8                 Hernandez, and Hall’s policy, custom, and practice, as described
9
                  supra, was within each of their control, and within the feasibility of
10

11                each of them, to alter, adjust, and/or correct so as to prevent some or
12
                  all of the unlawful acts and injury complained of herein by Plaintiffs.
13

14
                               FIFTH CLAIM FOR RELIEF
                      CALIFORNIA CONSTITUTION, Cal const. Art. I, § I
15                                    (Right to Privacy)
16                         By All Plaintiffs Against All Defendants
17
            128. Plaintiffs incorporate all paragraphs, as though fully set forth herein.
18
            129. This cause of action arises under the Constitution of the State of
19

20                California, which provides: “All people are by nature free and
21
                  independent and have inalienable rights. Among these are enjoying
22

23                and defending life and liberty, acquiring, possessing, and protecting
24
                  property, and pursuing and obtaining safety, happiness, and privacy.”
25
            130. Plaintiffs have legally protected liberty and privacy interests. These
26

27                interests necessarily extend to the facts, data, and information related
28
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 31
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 32 of 45 Page ID #:32



1                 to the confidential and closed adoption of A.F. by Plaintiffs Stuart
2
                  and Felix.
3

4           131. Plaintiffs have a reasonable expectation of privacy related to their
5
                  confidential and closed adoption through the DPSS.
6

7
            132. Defendants’ acts and/or omissions constituted a serious and egregious

8                 invasion of Plaintiffs’ liberty and privacy interests secured by the
9
                  California Constitution.
10

11                                 SIXTH CLAIM FOR RELIEF
                                           NEGLIGENCE
12
                               By All Plaintiffs Against All Defendants
13

14
            133. Plaintiffs incorporate all paragraphs, as though fully set forth herein.

15          134. This cause of action arises under the general laws and Constitution of
16
                  the State of California.
17

18          135. Plaintiffs have complied with the California Tort Claims Act.
19
            136. For purposes of this claim for relief, allegations are deemed to sound
20

21
                  in negligence, and set forth pursuant to Cal Civ Code § 1714.

22          137. In performing all of the complained of acts and omissions throughout
23
                  this Complaint by way of their conduct, defendants, and each of them,
24

25                have breached the duty to act reasonably under the circumstances
26
                  described.
27

28
            138. As a direct and proximate result of the foreseeable conduct
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 32
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 33 of 45 Page ID #:33



1                 throughout this Complaint, plaintiffs have suffered and continue to
2
                  suffer great emotional pain and injury, all in an amount to be
3

4                 determined according to proof at trial.
5
                             SEVENTH CLAIM FOR RELIEF
6                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
7
                         By All Plaintiffs Against Defendant Coronel

8           139. Plaintiffs incorporate all paragraphs, as though fully set forth
9
                  herein.
10

11          140. As outlined in detail above, Defendant Coronel’s conduct was
12
                  outrageous, particularly given her position, training, and experience
13

14
                  as a social worker.

15          141. Defendant Coronel was aware or should have been aware of the
16
                  potential severe and negative effects of her false pretenses, lies, and
17

18                selfish motivations for contacting Plaintiffs.
19
            142. No reasonable person could characterize Defendant Coronel’s actions
20

21
                  as anything but outrageous.

22          143. Defendant Coronel’s actions was reckless, at a minimum, and was
23
                  intended to cause emotional distress to Plaintiffs or a deliberate,
24

25                reckless and/or willful disregard of the emotional distress to Plaintiffs.
26
            144. Defendant Coronel intentionally lied to Plaintiffs regarding A.F.’s
27

28
                  biological father’s involvement in the purpose and manner of
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 33
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 34 of 45 Page ID #:34



1                 Defendant Coronel’s outreach, and his efforts to seek a connection
2
                  with A.F. after over 18 years of abandonment.
3

4           145. No reasonable person, particularly a professional clinical counselor,
5
                  would believe that such lies and false pretenses would not
6

7
                  severely and negatively affect A.F., a young man who had been

8                 abandoned, neglected and traumatized by his biological father’s
9
                  absence and abandonment for over 18 years.
10

11          146. No reasonable person, particularly a professional clinical counselor,
12
                  would believe that such lies and false pretenses would not
13

14
                  severely and negatively affect A.F.’s parents, Plaintiffs Stuart and

15                Felix. In fact, Defendant Coronel’s clearly outrageous and egregious
16
                  actions are further highlighted by her screaming at A.F.’s parents:
17

18                “He’s 18! Why are you getting so involved?” and hanging up the
19
                  phone on Plaintiffs.
20

21
            147. Plaintiffs have suffered and continue to suffer severe emotional

22                distress from Defendant Coronel’s actions. Any and all emotional
23
                  progress that Plaintiffs individually and collectively made over the
24

25                many years since A.F. was adopted at the age of ten by Mr. Stuart and
26
                  Mr. Felix, suffered regression, decline, and damage.
27

28
            148. Defendant Coronel’s actions caused Plaintiffs individually and
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 34
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 35 of 45 Page ID #:35



1                 collectively to suffer ongoing and severe anxiety, shame, humiliation,
2
                  exacerbated feelings of abandonment, depression, grief, and anger.
3

4                               EIGHTH CLAIM FOR RELIEF
                            LARCENY (Ca. Pen. Code, § 502, subd. (e))
5
                            By All Plaintiffs Against Defendant Coronel
6

7
            149. Plaintiffs incorporate all paragraphs, as though fully set forth

8                 herein.
9
            150. Defendant Coronel knowingly accessed and without permission
10

11                used data, computer, computer system, or computer network in order
12
                  to either (a) devise or execute any scheme or artifice to defraud or
13

14
                  deceive or (b) wrongfully control or obtain data in violation of Ca.

15                Pen. Code, § 502(c)(1).
16
            151. Defendant Coronel knowingly accessed and without permission took,
17

18                copied, or made use of data form a computer, computer system, or
19
                  computer network, whether existing or residing internal or external to
20

21
                  a computer, computer system, or computer network in violation of

22                Ca. Pen. Code, § 502(c)(2)
23
            152. Defendant Coronel knowingly accessed and without permission used
24

25                or caused to be used computer services in violation of Ca. Pen. Code,
26
                  §502(c)(3).
27

28
            153. Defendant Coronel knowingly without permission accessed or caused
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 35
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 36 of 45 Page ID #:36



1                 to be accessed any computer, computer system, or computer network
2
                  in violation of Ca. Pen. Code, §502(c)(7).
3

4           154. All of the actions by Defendant Coronel were conducted based on her
5
                  access, duties, and responsibilities given to her by Defendant County
6

7
                  in her role as a Social Services Practitioner III with the DPSS at the

8                 Defendant County.
9
            155. Defendant County, through their negligent training, protection, and
10

11                supervision, allowed Defendant Coronel to obtain unauthorized
12
                  access to its computer, computer system, or computer network in
13

14
                  violation of Ca. Pen. Code, §502(c).

15          156. Defendant Coronel engaged in the willful violation of the provisions
16
                  of Ca. Pen. Code, §502(c) and is guilty of fraud or malice as defined
17

18                by Ca. Civ. Code §3294(c).
19
            157. Defendant County engaged in the willful violation of the provisions
20

21
                  of Ca. Pen. Code, §502(c) and is guilty of fraud or malice as defined

22                by Ca. Civ. Code §3294(c).
23
                                  NINTH CLAIM FOR RELIEF
24
                            INFORMATION PRACTICES ACT of 1977
25                                  (Ca. Civ. Code, § 1798 et seq.)
                             By All Plaintiffs Against Defendant County
26

27          158. Plaintiffs incorporate all paragraphs, as though fully set forth
28
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 36
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 37 of 45 Page ID #:37



1                 herein.
2
            159. Plaintiffs have a right to privacy as a personal and fundamental right
3

4                 protected by Section 1 of Article I of the Constitution of California.
5
                  Plaintiffs have a right of privacy in information pertaining to them.
6

7
            160. Defendant County failed to comply with provisions of the

8                 Information Practices Act of 1977, Ca. Civ. Code, §1798 et seq., and,
9
                  as a result, such acts or omissions had substantial adverse effects on
10

11                Plaintiffs.
12
            161. Plaintiffs suffered damages, including mental suffering, as a result of
13

14
                  Defendant County’s acts or omissions related to Plaintiffs’ invasion

15                of privacy under federal and state constitutions and laws.
16
                                     TENTH CLAIM FOR RELIEF
17
                                CALIFORNIA PUBLIC RECORDS ACT
18                                    (Ca. Gov. Code, § 6259 et seq.)
                                By All Plaintiffs Against Defendant County
19

20          162. Plaintiffs incorporate all paragraphs, as though fully set forth
21
                  herein.
22

23          163. Defendant County has improperly withheld public records Plaintiffs
24
                  requested and are entitled to under Ca. Gov. Code §6259.
25
            164. Defendant County has made piecemeal productions and serial delays
26

27                responding to Plaintiffs’ PRA requests since October of 2021 and as
28
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL - 37
     Case 5:22-cv-00701-SPG-MAR Document 1 Filed 04/25/22 Page 38 of 45 Page ID #:38



1                 of the date of this Complaint, continues to delay timely and complete
2
                  production.
3

4           165. Defendant County is delaying complete and timely production of
5
                  relevant responsive public records documents beyond Plaintiffs’
6

7
                  statute of limitations for timely filing state causes of action against the

8                 County in violation of its obligations under the California PRA, Ca.
9
                  Gov. Code §6259 et seq.
10

11          166. Over the course of six (6) months, Defendant County has failed to
12
                  produce to Plaintiffs complete and timely disclosure of certain public
13

14
                  records related to the Plaintiffs’ PRA request involving the

15                unauthorized access and data breach by Defendant Coronel, former
16
                  employee of Defendant County.
17

18          167. Despite Plaintiffs’ very specific, detailed, and individualized request
19
                  for records as follows:
20

21
                        I seek a copy of all records relating to the report, investigation,
                        findings and administrative discipline related to Tara Coronel’
22                      employment, termination, criminal referral, if any, and
23                      investigation file related to the “data breach” related to the
                        closed adoption of John Doe 1 and John Doe 2 by Jose Felix
24
                        and Thomas Stuart. (See attached “Data Breach” Notice).
25                      Records include all investigative reports; photographic, audio,
                        and video evidence; transcripts or recordings of interviews;
26
                        personnel files; all materials compiled by the law enforcement
27                      agency and provided to the Office of the District Attorney, if
28
                        any, and/or any records created by the Office of the District
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1                       Attorney during the course of its investigation, or relied upon in
2                       its determination whether to file criminal charges, if applicable.
3
                  Defendant County erroneously objected to Plaintiffs’ request “on the
4
                  ground that [Plaintiffs’] request does not adequately describe the
5

6                 records sought.” Moreover, Defendant County also indicated that the
7
                  County “will not produce materials compiled by any law enforcement
8

9                 agency, nor will it produce any records created [sic] any law
10
                  enforcement agency during the course of its investigation.”
11
            168. Defendant has sought no less than four (4) extensions of time to
12

13                complete its production of documents in response to Plaintiffs’ PRA,
14
                  indicating, in part, the voluminous nature of the production. However,
15

16                the Defendant County’s production to date has included
17
                  approximately 37 pages of documents directly related to Defendant
18
                  Coronel, approximately 26 pages of publicly available general
19

20                department policies, and a three-page blank/template confidentiality
21
                  and information user agreement.
22

23          169. Each delayed and extended production has been limited to duplicative
24
                  productions. For example, on February 15, 2022, Defendant County
25
                  indicated that it was “continuing to retrieve and review some of the
26

27                items you requested which may be sent at a later date.” (emphasis
28
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1                 added). No date was given as to when Plaintiffs could anticipate
2
                  additional responsive documents. Accordingly, on March 15, 2022,
3

4                 having received no further documents or communication,
5
                  undersigned counsel was required to proactively request a date certain
6

7
                  from Defendant County to comply with its PRA obligations.

8           170. On March 17, 2022, Defendant County responded that it was
9
                  “continuing to review and do [sic] anticipate providing additional
10

11                responsive information. It is anticipated that additional information
12
                  will be provided on or before April 15, 2022.”
13

14
            171. Given the statute of limitations applicable for state violations, and

15                Defendant County’s continued delays and/or dilatory conduct,
16
                  undersigned counsel requested completion of all document requests
17

18                as soon as possible or agreement to entry of a tolling agreement. No
19
                  response was provided by Defendant County.
20

21
            172. On April 15, 2022, Defendant County produced duplicative email

22                documents, with the addition of three additional emails from July 1,
23
                  2021, all of which should have been available and produced in the
24

25                Defendants’ first production in February 2022. Moreover, Defendant
26
                  County once again indicated that its production remains incomplete
27

28
                  and that “if additional disclosable items are identified,” that it
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1                 “anticipate[s] their disclosure on or about May 16, 2022”—a day
2
                  after the statute of limitation runs for filing state actions against
3

4                 Defendant County.
5
            173. Defendant County has improperly withheld and delayed production
6

7
                  and completion of its obligations under the PRA, including multiple

8                 extensions of more than 14 days, in violation of Ca. Gov. Code,
9
                  §6253(c).
10

11          174. To date, Plaintiffs remain unclear on the complete production of
12
                  responsive documents to Plaintiffs’ PRA, Defendant County is
13

14
                  improperly withholding documents related to its investigation of

15                Defendant Coronel to prevent accurate and timely civil prosecution of
16
                  these violations, and Defendant County is improperly withholding
17

18                documents related to Defendant County’s Monell and City of Canton
19
                  and Larez liability with respect to Defendant Coronel and/or other
20

21
                  County employees’ unauthorized access to confidential information.

22          175. Defendant County’s improper delays and withholding of responsive
23
                  documents is in violation of Ca. Gov. Code §6253 et seq.
24

25

26

27

28
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1                                ELEVENTH CLAIM FOR RELIEF
2                            NEGLIGENT HIRING, SUPERVISION, and
                                   RETENTION OF EMPLOYEE
3
                              By All Plaintiffs Against Defendant County
4
            176. Plaintiffs incorporate all paragraphs, as though fully set forth
5

6                 herein.
7
            177. Defendant County of Riverside had a duty to supervise Defendant
8

9                 Coronel to ensure that she exercised her duties and responsibilities as
10
                  a Social Services Practitioner within the bounds of her authorization
11
                  and access to Defendant County of Riverside’s computers, data, and
12

13                records.
14
            178. Defendant County of Riverside was negligent in its supervision of
15

16                Defendant Coronel and failed to ensure that she exercised her duties
17
                  and responsibilities as a Social Services Practitioner within the
18
                  bounds of her authorization and access to Defendant County of
19

20                Riverside’s computers, data, and records.
21
            179. Defendant County of Riverside’s negligence in hiring, supervising,
22

23                and retaining Defendant Coronel proximately caused the Plaintiffs’
24
                  foreseeable injuries.
25

26

27

28
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1                             TWELFTH CLAIM FOR RELIEF
2                       VICARIOUS LIABILITY (Ca. Gov. Code § 815.2)
                           By All Plaintiffs Against Defendant County
3

4           180. Plaintiffs incorporate all paragraphs, as though fully set forth
5
                  herein.
6

7
            181. Defendant County of Riverside is vicariously liable through the

8                 doctrine of respondeat superior for all of Defendants’ state violations
9
                  and Plaintiffs’ injuries and damages at California Government Code
10

11                § 815.2.
12
            182. Plaintiffs’ injuries were caused by Defendant Coronel’s role and
13

14
                  authorization granted by her employer, DPSS and Defendant County

15                of Riverside.
16
            183. Defendant Coronel’s access to computer networks, data, and
17

18                information related to closed adoptions, including A.F.’s confidential
19
                  and closed adoption, was a direct result of Defendant Coronel’s
20

21
                  employment status with DPSS and Defendant County of Riverside.

22          184. It was a foreseeable risk, if not known risk, that Defendant Coronel
23
                  and/or other employees of DPSS and/or Defendant County of
24

25                Riverside would or could engage in unauthorized access to
26
                  Defendant’s computers, data, and records.
27

28
            185. Defendant Coronel’s ability to access Defendant’s computers, data,
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1                     and information at issue in this matter was required or incidental to
2
                      her duties and responsibilities as a Social Services Practitioner, III
3

4                     and/or it was reasonably foreseeable that she would have such access.
5
            186. Defendant County is liable to Plaintiffs for the acts of its public
6

7
                      employees, the individual Defendants herein, for conduct and/or

8                     omissions herein alleged, pursuant to the doctrine of respondeat
9
                      superior, codified at California Government Code § 815.2.
10

11                                    VII.      PRAYER FOR RELIEF
12
            187. WHEREFORE, Plaintiffs pray for the following relief from
13

14
                      Defendants, and each of them, for each of the above causes of action:

15             (i)       For compensatory damages, including general and special
16
                         damages, according to proof;
17

18             (ii)      For punitive damages pursuant to 42 U.S.C. §1983 and California
19
                         Civil Code § 3204, 52.1(b), and Ca. Pen. Code §502(e)(4), and
20

21
                         any other applicable laws or statutes, in an amount sufficient to

22                       deter and make an example of each Defendant;
23
               (iii)     For exemplary damages in accordance with Ca. Civ. Code,
24

25                       §1798.53, and any other applicable provisions;
26
               (iv)      For statutory damages, according to proof;
27

28
               (v)       For prejudgment interest according to proof;
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1              (vi)    For reasonable attorney fees pursuant to 42 U.S.C. §1983, 1988;
2
                       California Civil Code §§ 52.1, 52(b)(3); California Code of Civil
3

4                      Procedure 1025.1, Ca. Pen. Code §502(e)(2), Ca. Gov. Code,
5
                       §6259(d), and Ca. Civ. Code, §1798.45-1798.48, and any other
6

7
                       applicable provisions;

8              (vii) For costs of suit and litigation;
9
               (viii) For injunctive relief; and
10

11             (ix)    For such further relief which is just and proper.
12
                  Dated this 25th day of April, 2022.
13

14

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